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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division


   In re ZETIA (EZETIMIBE)
   ANTITRUST LITIGATION


                                               CIVIL ACTION NO. 2:18md2836


   THIS DOCUMENT RELATES TO:
   All cases


                          REPORT AND RECOMMENDATION


         This   matter   is    before   the   court   on   the   Direct     Purchaser


   Plaintiffs' ("DPPs") Motion for Class Certification for Purposes

   of Settlement with Par Pharmaceutical, Inc., Appointment of Class

   Counsel, Preliminary Approval of Proposed Settlement, Approval of

   the Form and Manner of Revised Notice to the Class, Appointment of

   a Notice Administrator, a Stay of all Proceedings in the MDL as

   against Par, and Setting the Final Settlement Schedule and Date

   for a Fairness Hearing (the ''Motion").            (ECF No. 371).            For the

   reasons that follow, the undersigned recommends that DPPs' Motion

   be GRANTED as modified.


                              I. Statement of the Case


         This multidistrict antitrust litigation centers around an

   alleged   unlawful    "reverse       payment"    arising      out   of   a    patent

   infringement     settlement       between       Defendants      involving        the

   cholesterol lowering medication ezetimibe and its branded version,

   Zetia.    Under the terms of this alleged conspiracy, the brand

   manufacturer defendants (collectively, "Merck") allegedly agreed
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   not to release their own generic version of the drug in exchange

   for       the     generic        manufacturer      defendants'       (collectively,

   "Glenmark")        agreement      to   dismiss    patent    challenges      and    delay

   generic entry to the market.                According to the DPPs' complaint,

   this resulted in a period of supra-competitive prices for both the

   branded and generic forms of the drug.

          On February 6, 2019, the undersigned prepared a report and

   recommendation on consolidated motions to dismiss, describing the

   parties,         relevant        regulatory      background      information,        and

   Plaintiffs' specific claims and recommending that the court grant

   in part and deny in part the pending motions to dismiss.                     (ECF No.

   234 .)1


          On June 25, 2019, the court granted DPPs' motion for leave to

   file an amended consolidated class action complaint so as to add

   Par Pharmaceutical, Inc., (''Par") as a defendant in the action.

   (ECF   No.       313.)     The    amended   complaint      alleges   that    Par    also

   conspired with Merck and Glenmark to unlawfully delay marketing of

   generic ezetimibe.              Par, which acted as a distributor for the

   generic         product,   is    alleged    to   have   helped    fund   the      patent

   litigation underlying the dispute and agreed, along with Glenmark,




   ^ In re Zetia (Ezetimibe) Antitrust Litig., No. 2:18-md-2836, 2019
   WL 1397228, at *2-10 (E.D. Va. Feb. 6, 2018), adopted as modified,
   2019 WL 3761680 (E.D. Va. Aug. 9, 2019).
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   to   the    terms   of   its    settlement    -   which   resulted   in   Glenmark


   dismissing its patent challenge and deferring generic competition.

   Shortly after filing the amended complaint, DPPs and Par reached

   a    proposed   settlement       agreement,   whereby     DPPs   would    agree   to

   dismiss their claims with prejudice against Par and seek a stay of

   all proceedings as against Par in the MDL in exchange for Par's

   promises to produce agreed-upon expedited discovery in the case

   and refrain from asserting any claims or counterclaims against

   Merck or Glenmark in connection with the subject matter of the

   litigation.

          DPPs now move the court to certify a settlement class, appoint

   class      counsel,    preliminarily    approve     the   proposed   settlement,

   approve the form and manner of notice to the class,^ appoint a

   notice administrator, issue a stay of all proceedings in the MDL

   as against Par, and set a final settlement schedule and date for

   a fairness hearing.            Glenmark and Merck each filed objections to

   DPPs' Motion.         (ECF Nos. 407, 418).        DPPs filed a reply, (EOF No.




   2 The Retailer Plaintiffs {"Retailers") originally objected to
   DPPs' proposed notice to the class contending that the form of
   notice - which required holders of partially assigned claims to
   obtain Par's consent before opting out - violated their right to
   pursue their claims individually. (ECF No. 382.) DPPs submitted
   a revised notice eliminating the offending language, (ECF No. 421),
   and Retailers withdrew their objection, (ECF No. 444).
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   466), and the court heard oral argument on September 23, 2019, so

   the Motion is ripe for decision.

                                    II. Legal Standard

   A. Settlement Class Certification


          "A settlement class, like a litigation class, must satisfy

   the requirements of Federal Rule of Civil Procedure 23(a)                          Brown

   V. Transurban USA, Inc., 318 F.R.D. 560, 566 (E.D. Va. 2016). In

   addition, the class must fit within one of the categories of Rule

   23(b).       The party seeking certification bears the burden of proof,

   and    each    requirement       of     Rule    23    must     be   established    by    a

   preponderance of the evidence.                 In re Hydrogen Peroxide Antitrust

   Litig., 552 F.3d 305, 320 (3d Cir. 2008).

   1. Rule 23(a)


          Under Rule 23(a), DPPs must demonstrate (1) numerosity, (2)

   commonality, (3) typicality, and (4) adequacy.                        Fed. R. Civ. P.

   23(a).       The numerosity prong requires that the proposed class be

   "so numerous that joinder of all members is impracticable."                            Fed.

   R.    Civ.    P.   23(a)(1).      The    Fourth      Circuit    has   held    that "[n]o

   specified number is needed to maintain a class action."                         Brady v.

   Thurston       Motor    Lines,    726     F.2d       136,    145    (4th   Cir.   1984).

   Generally,         classes   consisting        of    forty     or   more     members    are

   considered         sufficiently    large       to    satisfy    the   impracticability

   requirement. In re Titanium Dioxide Antitrust Litig., 284 F.R.D.

   328, 337 (D. Md. 2012), though some courts have certified classes
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   with fewer members, see, e.g., Meijer, Inc. v. Warner Chilcott

   Holdings     Co.    III.,    Ltd.,    246       F.R.D.   293,      306    {D.D.C.      2007)

   (certifying a class of thirty members).

         Rule 23(a)(2) requires that questions of law or fact be common

   to the class.       "A common question is one that can be resolved for

   each class member in a single hearing" and does not "turn[] on a

   consideration       of    the     individual      circumstances          of    each    class


   member."     Thorn v. Jefferson-Pilot Life Ins. Co., 445 F.3d 311,

   319   (4th    Cir.       2006).      The    Supreme        Court    has       stated    that

   "[c]ommonality requires the plaintiff to demonstrate that the

   class members 'have suffered the same injury.'"                         Wal-Mart Stores,

   Inc. V. Dukes, 564 U.S. 338, 350-51 (2011) (quoting Gen. Tel. Co.

   of the Sw. V. Falcon, 457 U.S. 147, 157 (1982)).                        In the antitrust

   context, courts have generally held that an alleged conspiracy or

   monopoly is a common issue that will satisfy Rule 23(a)(2).                             See,

   e.g., Meijer, 246 F.R.D. at 300.

         Rule 23(a)(3) requires that "the claims or defenses of the

   representative parties are typical of the claims or defenses of

   the   class."        Fed.   R.    Civ.     P.    23(a)(3).        The    typicality      and

   commonality        requirements       are       similar,     as    "[b]oth       serve    as

   guideposts for determining whether . . . the named plaintiff's

   claim and the class claims are so interrelated that the interests


   of the class members will be fairly and adequately protected."

   Falcon, 457 U.S. at 157 n.l3.                    But the typicality requirement
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   specifically     ensures   that     named    class     representatives       are

   appropriately part of the class and "possess the same interest[s]

   and suffer the same injury as the class members."                Broussard v.

   Meineke Disc. Muffler Shops, Inc., 155 F.3d 331, 338 {4th Cir.

   1998).   "The essence of the typicality requirement is captured by

   the notion that 'as goes the claim of the named plaintiff, so goes

   the claims of the class.'"          Deiter v. Microsoft Corp., 436 F.3d

   461, 466 (4th Cir. 2006) (citing Broussard, 155 F.3d at 340).

         The final requirement under Rule 23(a) is that the parties

   representing     the   proposed      class   be   able    to     "fairly     and

   adequately . . . protect      the    interests"   of   all    members   of   the

   class.   Fed. R. Civ. P. 23(a)(4).       This inquiry "serves to uncover

   conflicts of interest between named parties and the class they

   seek to represent."     Amchem Prod., Inc., v. Windsor, 521 U.S. 591,

   625 (1997) (citing Falcon, 457 U.S. at 157-58 n.l3).             In order for

   a conflict to defeat class certification, the conflict "must be

   more than merely speculative or hypothetical," but rather "go to

   the heart of the litigation."       Gunnells v. Healthplan Servs., Inc.,

   348 F.3d 417, 430-31 (4th Cir. 2003).

   2. Rule 23(b)


         Assuming   the   Rule   23(a)   requirements      are    satisfied,    the

   proposed class must also fall within one of the categories of Rule

   23(b).    Here, DPPs proceed under Rule 23(b)(3), which requires

   findings that (1) "the questions of law or fact common to class
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   members predominate over any questions affecting only individual

   members/' and       (2)    "that a      class action    is    superior to      other

   available     methods for fairly and          efficiently adjudicating             the

   controversy."       Fed. R. Civ. P. 23(b)(3).

         To meet the predominance requirement, plaintiffs must show by

   a preponderance of the evidence that the elements of their claim

   can be proven by evidence common to the members of their class.

   See In re Hydrogen Peroxide, 552 F.3d at 311-12.                    Plaintiffs are

   not required "to prove that each 'elemen[t] of [their] claim [is]

   susceptible to classwide proof,'" but only that "common questions

   'predominate over any questions affecting only individual [class]

   members.'"     Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S.

   455, 469 (2013) (quoting Fed. R. Civ. Pro. 23(b)(3)).

         The superiority requirement ensures that proceeding by class

   action will "achieve economies of time, effort, and expense, and

   promote . . . uniformity of decision as to persons similarly

   situated,     without      sacrificing     procedural     fairness    or     bringing

   about other undesirable consequences."             Amchem, 521 U.S. at 615.

   B. Preliminary Approval of Settlement Agreement

         Under    Rule     23(e),    the    court   must   approve      any     proposed

   settlement     in   a     class   action   and   ensure      that   notice    of   the

   settlement is provided to all class members.                    Fed. R. Civ. P.

   23(e). The court, however, may approve a proposed settlement "only
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   on finding that it is "fair, reasonable, and adequate."           Fed. R.

   Civ. P. 23(e)(2).

          "While this inquiry rests in 'the sound discretion of the

   Court,' the Court has the concomitant and overriding duty to ensure

   the 'protection of class members whose rights may not have been

   given adequate consideration during the settlement negotiations.'"

   In re Mills Corp. Sec. Litig., 265 F.R.D. 246, 253-54 (E.D. Va.

   2009) (quoting Jiffy Lube Sec. Litig., 927 F.2d 155, 158 (4th Cir.

   1991)).    Nonetheless, "there is a strong initial presumption that

   the compromise is fair and reasonable."       In re MicroStrategy, Inc.

   Sec. Litig., 148 F. Supp. 2d 654, 663 (E.D. Va. 2001).

          The Fourth Circuit has adopted a two-step analysis in gauging

   a proposed settlement's compliance with Rule 23(e)(2).              First,

   district courts must evaluate the proposed settlement's fairness

   by considering the following: "(1) the posture of the case at the

   time settlement was proposed; (2) the extent of discovery that had

   been      conducted;   (3)    the    circumstances     surrounding     the

   negotiations; and (4) the experience of counsel in the area of []

   class action litigation."       Jiffy Lube, 927 F.2d at 159. Second,

   district courts must assess the proposed settlement's adequacy.

   The following five factors guide the court's adequacy analysis:

   "(1) the relative strength of the plaintiffs' case on the merits;

   (2) the existence of any difficulties of proof or strong defenses

   the plaintiffs are likely to encounter if the case goes to trial;
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   (3)    the   anticipated      duration    and     expenses     of    additional

   litigation; (4) the solvency of the defendants and the likelihood

   of    recovery   on   a   litigated   judgment;    and   (5)   the   degree   of

   opposition to the settlement."         Id.

          "Although Rule 23(e) does not delineate a procedure for court

   approval of settlements of class actions, the courts generally

   have followed a two step-procedure."              Horton v. Merrill Lynch,

   Pierce, Fenner & Smith, Inc., 855 F. Supp. 825, 827 (E.D.N.C.

   1994); see also In re Mid-Atl. Toyota Antitrust Litig., 564 F.

   Supp. 1379, 1384 (1983) (utilizing the same two-step procedure).

   First, the court makes a preliminary determination of whether "the

   proposed settlement is within the range of possible approval or,

   in other words, whether there is probable cause to notify the class

   of the proposed settlement."^ Horton, 855 F. Supp. at 827 (internal

   quotation marks omitted).        The court's preliminary determination

   is not definitive — indeed, it is the court's duty "to make clear

   that [a] determination permitting notice to members of the class

   is not a finding that the settlement is fair, reasonable, and




   3 At this step, it is not necessary for the court to hold a hearing
   if the court is satisfied that it can make the preliminary
   determination "on the basis of information already known,
   supplemented as necessary by briefs, motions, or informal
   presentations by parties." Manual for Complex Litigation (Fourth)
   § 21.632 (2004).
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   adequate."     In re Mid-Atl. Toyota, 564 F. Supp. at 1384 (emphasis

   added).     It is instead only a finding that probable cause exists

   to proceed to the second step.           Id.

         If,    after    evaluating   the   proposed   settlement's   fairness,

   reasonableness, and adequacy, the court is satisfied that probable

   cause exists to find that "the proposed settlement is within the

   range of possible approval," notice of the proposed settlement

   will be sent to the class, and the court will hold a fairness

   hearing, affording all interested parties "an opportunity to be

   heard on the proposed settlement."             Horton, 855 F. Supp. at 827.

   It is at this stage where the court ultimately determines whether

    the proposed settlement complies with Rule 23(e).

                        Ill. Recommended Conclusions of Law


    A. Defendants Glenmark and Merck's Objections to DPPs' Motion

         Although Glenmark and Merck are non-settling defendants, each

    has objected to DPPs' Motion and proposed Class Notice on several

    grounds.    Both urge the court to defer ruling on settlement class

    certification until ruling on litigation class certification, the

    process for which will not begin until November 4, 2019.               They

    contend the record will be more fully developed and thus better

    inform the court's evaluation and the determination of probable

    fairness.     Glenmark and Merck's objections generally stem from

    concern that any findings of fact and conclusions of law made by

    the court for purposes of settlement class certification will

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    prejudice them at the litigation class certification stage.                   They

    note that issues of numerosity and adequacy will be sharply

    contested   in   the    litigation     class    certification     proceedings.

    Specifically, they caution that any ruling premised solely on the

    agreement of the now-cooperating settling parties should not bind

    the court to the same findings and conclusions.

         As an initial matter, unless it can demonstrate "formal legal

    prejudice," a non-settling defendant generally lacks standing to

    challenge a partial settlement agreement, including the form and

    manner of notice to the class, as well as class certification for

    settlement purposes. See Eichenholtz v. Brennan, 52 F.3d 478, 482

    (3d Cir. 1995); Quad/Graphics, Inc. v. Pass, 724 F.2d 1230, 1233

    (7th Cir. 1983); In re Beef Indus. Antitrust Litig., 607 F.2d 167,

    172 (5th Cir. 1979); see also Gould v. Alleco, Inc., 883 F.2d 281,

    284 (4th Cir. 1989) ("The plain language of Rule 23(e) clearly

    contemplates allowing only class members to object to settlement

    proposals.").      A    non-settling    defendant       suffers   formal   legal

    prejudice and can therefore challenge a partial settlement when

    that settlement "purports to strip it of a legal claim or cause of

    action, an action for indemnity or contribution for example, or to

    invalidate its contract rights."               Eichenholtz, 52 F.3d at 482

    (internal quotation marks omitted).

          Glenmark and Merck argue that DPPs' Motion, if granted, would

    prejudice   them   in   several   ways.        First,   they   argue   that    the

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    requested stay of all proceedings in the MDL as against Par

    prejudices them because it allows DDPs to obtain discovery from

    Par but prevents both Glenmark and Merck from obtaining discovery

    from Par.     DDPs refute this claim, responding that "[t]he purpose

    of the requested stay is to ensure that Par has the ability to

    provide the discovery that direct purchasers seek on an accelerated

    schedule, without having to simultaneously defend claims brought

    by other plaintiffs against Par."            (ECF No. 466, at 8.)     According

    to DPPs, while the stay would prevent Glenmark and Merck from

    asserting any claims against Par, it would not prevent Glenmark

    and   Merck   from   obtaining    discovery     from   Par.     The   DPPs   have

    correctly assessed the effect of the requested stay.              Neither Merck

    nor Glenmark       has indicated that they intend             to assert     claims

    against Par.       As discovery would be permitted under the terms of

    any stay, neither Merck nor Glenmark will be prejudiced by the

    stay.

          Next, Glenmark and Merck argue that the proposed notice to

    class members contains incorrect statements of law.               (ECF No. 407,

    at 2 (Glenmark)) ("[The proposed notice] is materially misleading

    and incomplete[] and . . . expresses legal conclusions that are

    contrary to law.");         (ECF No. 418, at 12 (Merck)) ("[T]he Court

    should decline DPPs' request to approve incorrect and premature

    statements    of     law   [in   the   proposed    notice] .").       But    these

    objections - which relate to statements in the proposed Order

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   preliminarily approving the settlement and in the Notice to Class

   Members - have been addressed by amendments.           The DPPs submitted

   a revised Notice to Class Members modifying the language Defendants

   claim was misleading.       Revised Notice (ECF No. 649-2, 10-12).

           Finally, Glenmark and Merck attack DPPs' evidence in support

   of settlement class certification. (ECF No. 407, at 2 (Glenmark)

   (arguing that DPPs' expert witness' declaration in support of

    settlement   class   certification   seeks   to   "convince   the    Court   to


    prejudge important questions going to the merits of DPPs' claims"

    by "extend[ing] far beyond that which is necessary to certify a

    settlement class"); (ECF No. 418, at 5-9 (Merck)) (arguing that

    DPPs    cannot   satisfy   Rule   23(a)'s    numerosity       and    adequacy

    requirements).

           Glenmark and Merck lack standing to challenge                settlement

    class certification because they cannot demonstrate formal legal

    prejudice.   Any findings the court makes with regard to settlement

    class certification is limited to the issue of settlement class

    certification.    Preliminary certification of the settlement class,

    therefore, will not affect — nor prevent Glenmark and Merck from

    later challenging — litigation class certification on the same

    grounds presented in their objections.              The litigation class

    determination    will be made based on its own          merits, following

    adversarial briefing and evidence.        Likewise, the court does not

    adopt any conclusions of law stated in the proposed notice which

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    has    been    revised   to     reflect       DPPs'      characterization          of    the

    settlement benefits to proposed class members.                     Therefore, nothing

    about the settlement class certification or the proposed notice

    results in any formal legal prejudice to either Glenmark or Merck.

           Having addressed        the    objections,         all    that remains       is   to

    determine whether DPPs' uncontested evidence is adequate to meet

    the requirements of settlement class certification.                      In support of

    their motion, DPPs provided a declaration from Attorney Thomas

    Sobol, counsel to the named direct purchasers and the putative DPP

    class.        Sobol   Decl.         {ECF   No.    374).         Exhibits      to   Sobol's

    declaration include (1) a copy of the Settlement Agreement between

    Par Pharmaceutical, Inc. and the DPPs; (2) a modification of the

    Settlement Agreement; (3) a proposed order preliminarily approving

    the settlement class; (4) a proposed Notice to Class Members; (5)

    a declaration from economist Lynette Hilton, PhD; (6) a declaration

    of William Wilkersham in support of the notice plan; and (7) a

    firm resume for proposed lead counsel. Sobol's declaration recites

    the reasons why counsel determined to settle with Par on the terms

    outlined in the Settlement Agreement.                     Specifically, he states

    that   the    settlement      was    reached      after    detailed,       arm's    length

    negotiations      during      which    both      Par    and     DPPs   were    separately

    represented by experienced counsel.                    Sobol states that the terms

    of the settlement agreement secure concessions which DPP counsel

    believe will be valuable in responding to arguments made by Merck

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   and   Glenmark    on the   other      claims.     These   include    discovery-

   concessions and the availability of witnesses from Par.                   Sobol

   also states that Par's parent company, Endo International, PLC, is

   in difficult financial circumstances, and a feared bankruptcy

   could derail the aggressive timeline for resolving DPPs' other

   claims against Merck and Glenmark.           Sobol Decl. 4 (ECF No. 374).

         The declaration of Dr. Hilton supports the DPP claims of

   numerosity,      commonality,   and    adequacy    for    purposes   of   their

   proposed settlement class only.          Specifically, Dr. Hilton opines

   that she reviewed the allegations of the complaint, as well as

   detailed transactional discovery produced in the case thus far.

   She determined that the proposed Direct Purchaser class for the

   Par settlement would include 71 members.           Her conclusion was based

    on a review of the transaction data and "instructions from counsel

    regarding the status of certain entities."           Hilton Decl. 17, n.72

    (ECF No. 377-1).      She also opined that the class members would

    have suffered a common antitrust injury based on the price effect

    of delayed generic entry alleged in the complaint, and that damages

    from that injury could be established by creating a measure of

    aggregate, or classwide overcharge.            Id. at 7-21.   At this stage

    of the proceedings, Dr. Hilton's conclusions are un-rebutted. And

    for purposes of the settlement class only, they are sufficient for

    the court to find probable cause that the proposed settlement class



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    would meet the requirements of Federal Rule of Civil Procedure

   23(a) and (b)(3).

          The Wilkersham declaration sets forth the qualifications of

   RG/2       Claims     Administration         L.L.C.,      the     proposed       claims

   administrator.        {ECF No. 374-6) .       The company has extensive claims

   administration experience, and Wilkersham attests that the notice

    plan described, which involves mailing notice by first class mail

    to all 71 class members identified, is calculated to provide the

    best practicable method to reach potential class members. Id. H 8.

          Finally, the firm resume for Hagens, Herman, Sobol, Shapiro,

    LLP proposed to serve as lead counsel for the Direct Purchaser

    Settlement      Class   for    the   Par   Settlement.         This   firm,   and   the

    lawyers identified in the Notice, have already been found by the

    court to meet the requirements of Federal Rule 23(g).                         (ECF No.

    105) .

             The   foregoing   undisputed       evidence     is    sufficient     for   the

    undersigned to find probable cause that the proposed settlement is

    within the range of possible approval.                It is also relevant to the

    preliminary inquiry that the putative settlement class consists

    entirely       of   business    entities,       mainly    drug    wholesalers       and

    retailers, which should have the means to assess the settlement

    terms and make an independent decision regarding whether to opt

    out of its benefits or object.             Accordingly, this report recommends




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   the court approve the Notice Plan, and schedule a fairness hearing

   to finally assess whether the settlement is fair and reasonable.

                       IV. Conclusion and Recoimnendation


         The undersigned recommends that DPPs' Motion, (EOF No. 371),

   be   GRANTED   as   modified,   and   that   the   court   fix    a   date   for

   objections and a fairness hearing and enter the Order granting

   Preliminary    Settlement    Approval      attached   to   this   Report     and

   Recommendation as Exhibit A, and approving the proposed Notice to

   Class Members,      attached as Exhibit B.         Both of    the foregoing

    recommendations are limited to the Settlement Class for purposes

   of settlement with Par Pharmaceuticals only.

                               V. Review Procedure


         By copy of this report and recommendation, the parties are

    notified that pursuant to 28 U.S.C. § 636(b)(1)(C):

         1. Any party may serve upon the other party and file with the

    clerk   written     objections    to      the   foregoing    findings       and

    recommendations within fourteen (14) days from the date of mailing

    of this report to the objecting party, see 28 U.S.C. § 636(b)(1),

    computed pursuant to Rule 6 (a) of the Federal Rules of Civil

    Procedure.    Rule 6(d) of     the Federal Rules of         Civil Procedure

    permits an additional three (3) days, if service occurs by mail.

    A party may respond to any other party's objections within fourteen

    (14) days after being served with a copy thereof.                See Fed. R.




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   Civ. P. 72(b)(2) (also computed pursuant to Rule 6(a) and (d) of

   the Federal Rules of Civil Procedure).

          2. A district judge shall make a de novo determination of

   those      portions     of   this   report    or    specified        findings   or

   recommendations to which objection is made.

          The parties are further notified that failure to file timely

   objections to the findings and recommendations set forth above

    will result in a waiver of appeal from a judgment of this court

   based on such findings and recommendations.                 Thomas v. Arn, 474

   U.S.    140 (1985); Carr v. Hutto, 737 F.2d 433 (4th Cir.                  1984);

    United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).




                                           Douglas t.
                                           United Slates Magistrate Judge

                                        DOUGLAS E.     MILLER
                                        UNITED STATES MAGISTRATE JUDGE


    October    J- , 2019




                                          18
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                                       EXHIBIT A




                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division


   In re ZETIA (EZETIMIBE)
   ANTITRUST LITIGATION


                                                CIVIL ACTION NO. 2:18md2836


   THIS DOCUMENT RELATES TO:
   All cases


                                            ORDER


                                      Jurisdiction


    1. This court has subject matter jurisdiction over this case and

       has jurisdiction over this action and each of the representative

       class plaintiffs FWK Holdings, LLC C'FWK"), Rochester Drug Co

       operative, Inc. C'RDC") / and Cesar Castillo, Inc. ("CCI"), and

       defendant Par.


                          Certification of the Proposed
                Direct Purchaser Class for the Par Settlement


    2. The court makes the following determinations as required by

       Rule 23 solely in connection with the proposed settlement with

       Par:


       a.     Pursuant    to   Fed.    R.    Civ.   P.   23(c){1) {B),    the    court

              certifies    the   "Direct       Purchaser    Class   for    the    Par


              Settlement," membership of which is defined as follows:

                All persons or entities in the United States and
                its territories that purchased Zetia or generic
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                 Zetia   in   any          form  directly  from   Merck,
                 Glenmark/Par, or          any agents, predecessors, or
                 successors    thereof       from      December   6,   2011     to
                 June 11, 2017 (the "Direct Purchaser Class for the
                 Par Settlement").


                 Excluded from the class are Merck, Glenmark, Par,
                 and any of their officers, directors, management,
                 employees, parents, subsidiaries and affiliates.

                 Also excluded from the class are the government of
                 the United States and all agencies thereof, and all
                 state or local governments.


      b.    The    Direct     Purchaser      Settlement        Class   for     the    Par


            Settlement        has     at    least       seventy-one    (71)     members

            geographically dispersed throughout the United States and

            Puerto    Rico.         Pursuant      to    Rule   23(a)(1),     the     court

            determines that the Direct Purchaser Settlement Class for


            the Par Settlement is so numerous that joinder of all

            members is impracticable.

      c.    Pursuant     to    Fed.    R.    Civ.      P.   23(c)(1)(B),     the     court

            determines that the following issues relating to claims

            and/or    defenses      (expressed         in summary fashion)         present

            common, class-wide questions:

            i.     Whether the conduct challenged by the Direct Purchaser

                   Class    Plaintiffs       as   anticompetitive      in     the    First

                   Amended Consolidated Class Action Complaint and Jury

                   Demand, filed June 27, 2019 (ECF No. 315) (the "Direct
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                  Purchaser Class Complaint") constitutes a violation

                  of Section 1 of the Sherman Act 15 U.S.C. § 1; and

            ii.   Whether the challenged conduct substantially affected

                  interstate commerce and caused antitrust injury-in-

                  fact to the Direct Purchaser Settlement Class for the

                  Par Settlement, in the nature of overcharges paid as

                  a result of the higher prices paid directly by Direct

                  Purchaser     Settlement     Class   members    for   brand    or


                  generic Zetia; and

      d.    The court determines that the foregoing class-wide issues

            relating to claims and/or defenses are questions of law or

            fact common to the Direct Purchaser Settlement Class for


            the Par Settlement that satisfy Rule 23(a)(2).

      e.    The Direct Purchaser Class Plaintiffs - FWK, RDC, and CCI

            - are hereby appointed as representatives of the Direct

            Purchaser Settlement Class for the Par Settlement for the


            following reasons:

            i.    The Direct Purchaser Class Plaintiffs allege on behalf

                  of the Direct Purchaser Settlement Class for the Par


                  Settlement the same manner of injury from the same

                  course of conduct that they complain of themselves,

                  and   the Direct Purchaser      Class   Plaintiffs assert      on


                  their   own   behalf   the   same    legal   theory   that    they

                  assert for the Direct Purchaser Settlement Class for
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                  the Par Settlement.       The court therefore determines

                  that the Direct Purchaser         Class Plaintiffs'              claims

                  are typical of the claims of the proposed Direct

                  Purchaser    Settlement   Class    for    the    Par    Settlement


                  within the meaning of Rule 23(a)(3); and

            ii.   Pursuant to Rule 23(a)(4), the court determines, in

                  connection with and solely for purposes of settlement,

                  that the Direct Purchaser Class Plaintiffs will fairly

                  and adequately protect the interests of the Direct

                  Purchaser    Settlement   Class    for    the   Par    Settlement.


                  The Direct Purchaser Class Plaintiffs'                interests in


                  connection   with settlement do not conflict                 with the


                  interests of absent members of the Direct Purchaser


                  Settlement Class for the Par Settlement. All of the


                  Direct    Purchaser   Settlement    Class       members      share    a


                  common interest in proving the defendants' alleged

                  anti-competitive      conduct,      and     all        the       Direct

                  Purchaser    Settlement   Class    members       share       a   common


                  interest in recovering the overcharge damages sought

                  in the Direct Purchaser Class Complaint.                  The court

                  further     determines    that    Counsel       for    the       Direct


                  Purchaser    Class    Plaintiffs    are     well-qualified           to

                  represent the Direct Purchaser Settlement Class in

                  this case, given their experience in prior cases and
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                  the vigor with which they have prosecuted this action

                  thus far.


            Pursuant to Rule 23(b)(3), the court determines that, in

            connection with and solely for purposes of settlement with

            Par, common questions of law and fact predominate over

            questions affecting only individual members.                       In light of

            the   class-wide   claims,      issues,         and    defenses      set    forth

            above,   the   issues   in    this    action that are               subject         to

            generalized    proof,     and      thus   applicable          to    the    Direct

            Purchaser   Settlement       Class   for    the       Par    Settlement        as   a


            whole, predominate over those issues that are subject only

            to    individualized    proof.            See    Amgen       Inc.    v.        Conn.

            Retirement Plans and Trust Funds, 568 U.S. 455, 469 (2013);

            see also Am. Sales Co., LLC v. Pfizer, Inc., No. 2:14-cv-

            361, 2017 WL 3669604, at *13 (E.D. Va. July 28, 2017),

            report and recommendation adopted. No. 2:14-cv-361, 2017

            WL 3669097 (E.D. Va. Aug. 24, 2017)                     (^^Courts deciding

            whether to certify a class in delayed-entry cases like this

            one frequently find that common questions of fact and law

            will predominate when there has been an alleged violation

            of antitrust law."),

       f.   Also pursuant to Rule 23(b)(3), the court determines that,

            in    connection   with      and     solely      for        purposes      of     the

            settlement with Par, a class action is superior to other
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            available methods for the fair and efficient adjudication

            of this action.           The court believes it is desirable, for

            purposes      of    judicial          and    litigation         efficiency,      to

            concentrate the claims of the Direct Purchaser Settlement


            Class for the Par Settlement in a single action. The court

            also believes that there are few manageability problems

            presented by a case such as this, particularly in light of

            the settlement addressed by this Order.

            Pursuant to Fed. R. Civ. P. 23(c)(1)(B) and 23(g), the

            court,   having      considered         the   factors         provided   in    Rule

            23(g)(1)(A), hereby appoints the following counsel as Lead

            Counsel for the Direct Purchaser Settlement Class for the


            Par   Settlement         consistent      with     the   court's       Order   dated


            August     15,     2018    (EOF       No.   105),       and    the    duties    and

            responsibilities described in that Order:

                     Thomas M. Sobol Kristen A. Johnson
                     Hagens Herman Sobol Shapiro LLP
                     55 Cambridge Parkway, Suite 301
                     Cambridge MA 02142
                     Tel: 617-482-3700
                     Fax: 617-482-3003

                     Email: tom@hbsslaw.com
                                 kristenj@hbsslaw.com

           The court's class certification findings are solely for the

           purpose   of      settlement       with      Par   and    do     not   affect    the

           Defendants'         ability       to     object      to        litigation       class

           certification        of     any    class.          Direct       Purchaser       Class
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          Plaintiffs shall not rely on certification of the settlement

          class to support certification of a litigation class in

          matters pending against the other Defendants.

             Preliminary Approval of the Proposed Settlement

   4.     Upon review of the record, the court preliminarily finds

          that   the    proposed   Settlement       with       Par,   which   includes

          expedited discovery and a covenant not to sue by Par in

          exchange     for,   inter    alia,    dismissal       of    the   litigation

          against Par with prejudice and defined releases of claims by

          Direct Purchaser Class Plaintiffs and the Direct Purchaser

          Settlement Class for the Par Settlement as set forth in the

          Direct      Purchaser/Par    Settlement,        is    sufficiently     fair,

          reasonable,     and adequate,        in   the   best    interests of      the

          members of the Direct Purchaser Settlement Class and one

          that responsible and highly experienced counsel could accept

          considering all relevant risks and factors of litigation,

          and arrived at by arm's-length negotiations.

                         Approval of the Plan of Notice
                   to the Direct Purchaser Settlement Class

    5. The proposed form of Notice to the Direct Purchaser Settlement

        Class members of the pendency and proposed settlement of this

        action   as    against   Par   only    ("Settlement       Notice")    and   the

        proposed method of dissemination of the Settlement Notice by

        first class mail satisfy the requirements of Rule 23(e) of the
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       Federal Rules of Civil Procedure and due process, are otherwise

       fair   and   reasonable,           and   therefore      are    approved.       Stated

       conclusions of law or fact set forth in the Notice are not

       binding on the court in later contested proceedings concerning

       any litigation class.               No later than 15 days following the

       entry of this Order, Plaintiffs' Lead Class Counsel shall cause

       the Settlement Notice substantially in the form attached as

       Exhibit B to the Notice of Direct Purchaser Class Plaintiffs


       {ECF No. 649-2) to be disseminated via first class mail to the

       last known       address      of    each   entity that        purchased      brand   or

       generic Zetia directly from a named defendant during the Class

       Period. Plaintiffs'           Lead Class        Counsel    shall also cause          the

       Settlement       Notice       to     be        posted   on     the     internet       at

       www.ZetiaAntitrustLitigation.com.

    6. The    Direct    Purchaser         Settlement      Class     members   for    the    Par

       Settlement may request exclusion from the Direct Purchaser

       Settlement Class for the Par Settlement in accordance with the

       Settlement       Notice    substantially           in   the    form    attached       as

       Exhibit B       to   Direct    Purchaser         Plaintiffs'     Revised     Proposed

       Notice to the Class of the Proposed Settlement with Par, (ECF

       No. 649-2), or object, no later than 45 days from the date on

       the Settlement Notice.             Plaintiffs' Lead Class Counsel or their

       designee shall monitor and record any and all opt out requests

       that are received.


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   7. Pursuant to the Class Action Fairness Act of 2005 ("CAFA"), Par

       shall serve notices as required under CAFA within ten (10)

       business days from the date Direct Purchaser Class Plaintiffs

       file for preliminary approval of the settlement.

   8. The court appoints RG/2 Claims Administration as Settlement

       Administrator to assist in disseminating the Settlement Notice

       to the Direct Purchaser Settlement Class.


                             Final Fairness Hearing

   9. A hearing on final approval of the settlement (the "Fairness

       Hearing") shall be held before this court on                          (a

       date no earlier than 100 days after this Order), at

       Eastern Time, at the Walter E. Hoffman United States Courthouse,

       600 Granby Street, Norfolk, VA 23510.       At the Fairness Hearing,

       the    court   will   consider,   inter   alia,   (a)   the   fairness,

       reasonableness and adequacy of the settlement and whether the

       settlement should be finally approved; and (b) whether entry

       of a final judgment terminating the litigation against Par

       should be entered.      The Fairness Hearing may be rescheduled or

       continued; in this event, the court will furnish all counsel

       with    appropriate    notice.      Plaintiffs'   counsel     shall   be

       responsible for communicating any such notice promptly to the

       Direct Purchaser Settlement Class for the Par Settlement by

       posting    conspicuous     notice    on   their    websites    and    at

       www.ZetiaAntitrustLitigation.com.
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   10.Direct Purchaser Settlement Class members who wish to object

       with respect to the proposed settlement with Par and/or appear

       in person at the Fairness Hearing must first send an objection

       and, if intending to appear, a notice of intention to appear,

       along with a summary statement outlining the position(s) to be

       asserted and the grounds therefore, together with copies of any

       supporting papers or briefs, via first class mail, postage

       prepaid, to the clerk of the U.S. District Court for the Eastern

       District    of   Virginia,   Walter    E.    Hoffman     United   States

       Courthouse, 600 Granby Street, Norfolk, VA 23510, with copies

       to the following counsel:

               On behalf   of the Direct Purchaser Class Counsel,
               Direct   Purchaser     Plaintiffs,    and      the   Direct
               Purchaser Settlement Class:


                     Thomas M. Sobol Kristen A. Johnson
                     Hagens Herman Sobol Shapiro LLP
                     55 Cambridge Parkway, Suite 301
                     Cambridge MA 02142
                     Tel: 617-482-3700
                     Fax: 617-482-3003

                     Email: tom@hbsslaw.com
                             kristenj ©hbsslaw.com


               On behalf of Par:


                     Benjamin Greenblum Williams & Connolly LLP
                     725 Twelfth Street, N.W.
                     Washington, D.C. 20005
                     Tel: 202-434-5000
                     Email: bgreenblum@wc.com




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       The objection and/or notice of intention to appear shall state

       that   they   relate   to   In   Re:   Zetia   (Ezetimibe)   Antitrust

       Litigation, MDL No. 2836 (E.D. Va.).           To be valid, any such

       objection to the settlement and/or notice of intention to appear

       must be postmarked no later than the later of                    (i.e.

       within 45 days of the date of the Settlement Notice to the

       Direct Purchaser Settlement Class for the Par Settlement) and

       it must include the Direct Purchaser Settlement Class member's


       name, address, telephone number, and signature.              Except as

       herein provided, no person or entity shall be entitled to

       contest the terms of the proposed settlement.         All persons and

       entities who fail to file a notice of intention to appear or a

       letter stating reasons for objecting as provided above shall

       be deemed to have waived any objections by appeal, collateral

       attack, or otherwise and will not be heard at the Fairness

       Hearing.

    11.All briefs and materials in support of final approval of the

       settlement and entry of the final judgment proposed by the

       parties to the settlement shall be filed with the court no

       later than 30 days before the final Fairness Hearing set in

       this Order.


    12.All proceedings in this multi-district litigation against Par

       are hereby stayed until such time as the court renders a final

       decision regarding the approval of the Direct Purchaser/Par

                                         11
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       Settlement and, if it approves the settlement, enters final

       judgment and dismisses the Direct Purchaser Class Plaintiffs'

       action against Par with prejudice.      However, the foregoing stay

       shall not affect any party's ability to obtain discovery from

       Par in accordance with the Federal Rules of Civil Procedure and


       the court's previous scheduling orders.

    13.In the event the Direct Purchaser/Par Settlement is terminated

       in accordance with its provisions, (a) the settlement and all

       related proceedings shall become null and void and have no

       further force and effect; (b) Direct Purchaser Class Plaintiffs

       shall retain full rights to assert any and all causes of action

       against Par and any other party that would have been a released

       party had the settlement not been terminated; and (c) Par and

       any other parties that would have been released parties had the

       settlement not been terminated shall retain any and all defenses

       and counterclaims.     In the event of termination, these actions,

       as well as any other actions against Par in this MDL stayed

       pursuant to the preceding paragraph, shall revert forthwith to

       their respective procedural and substantive status prior to the

       date of execution of the Direct Purchaser/Par Settlement and

       shall proceed as if the settlement and all other related orders

       and papers had not been executed by Direct Purchaser Class

       Plaintiffs and Par.




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   14.Neither this order nor the Direct Purchaser/Par Settlement nor

       any other settlement-related document or anything contained

       herein or therein or contemplated hereby or thereby nor any

       proceedings undertaken in accordance with the terms set forth

       in the Direct Purchaser/Par Settlement or herein or in any other

       settlement-related document shall constitute, be construed as

       or be deemed to be evidence of or an admission or concession


       by Par as to the validity of any claim that has been or could

       have been asserted against Par or as to any liability of Par

       or as to any matter set forth in this Order.




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                                                    EXHIBIT B


                                 United States District Court for the
                                       Eastern District of Virginia


                 If You Purchased Brand Or Generic Zetia
        (Ezetimibe) Directly From Merck, Glenmark or
          Par Between December 6, 2011 and June 11,
            2017, A Class Action Settlement with Par
          Pharmaceutical, Inc. May Affect Your Rights.
           A federal court directed this notice. This is not a solicitation from a lawyer.
                                      You are not being sued.

                 This notice has important information for you if you purchased Zetia
             (ezetimibe) or its generic equivalent between December 6, 2011 and June 11,
                 2017 directly from Merck, Glenmark or Par. It provides a summary
                 explanation of a proposed settlement with one Defendant in this litigation, Par
                 Pharmaceutical, Inc., ("Par") and explains your rights and options as part of
                 the Settlement.


                 In January 2018, direct purchasers of brand and generic Zetia (ezetimibe)
             ("Direct Purchaser Class Plaintiffs")^ filed multiple lawsuits against
                 Glenmark Pharmaceuticals, Ltd. and Glenmark Generics Inc., USA
             ("Glenmark") and Merck & Co., Inc., Merck Sharp & Dohme Corp., Schering-
                 Plough Corp., Sobering Corp., and MSP Singapore Co. LLC ("Merck"),
                 alleging those entities had entered into an unlawful "reverse payment"
                 settlement agreement, delaying entry of generic substitutes from the market
                 for ezetimibe, a prescription cholesterol drug, sold under the brand name
                 Zetia by Merck for years.

                 On May 8, 2019, the Direct Purchaser Class Plaintiffs filed a motion for
                 leave to file an Amended Consolidated Class Action Complaint, seeking to
                 name Par as an additional defendant in the lawsuit. On June 25, 2019 the
                 Court granted the Direct Purchaser Class Plaintiffs' motion for leave to
                 amend the complaint to add Par as a defendant.

                 On June 21, 2019, Direct Purchaser Plaintiffs and Par reached a settlement
                 of claims in the lawsuit. The settlement provides that in exchange for a full
                 release of liability from Direct Purchaser Class Plaintiffs and the Direct

     'The Direct Purchaser Class Plaintiffs include FWK Holdings, LLC, Rochester Drug Cooperative, Inc., and Cesar
     Castillo.
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          Purchaser Settlement Class, Par will provide certain agreed upon expedited
          discovery in the Lawsuit, including documents, data and one or more
          deposition witnesses and will, as necessary, make available a witness or
          witnesses to testify at trial. Par has also covenanted not to bring or assert
          claims or counterclaims against the remaining defendants, Merck or
          Glenmark, as a purchaser of generic Zetia. Par has not agreed to pay any
          money to the Direct Purchaser Settlement Class as part of the Settlement.
          The Settlement involves only Par. The Lawsuit will continue against the
          remaining Defendants Merck and Glenmark.

          On              , 2019 the U.S. District Court for the Eastern District of
          Virginia gave preliminary approval to the Settlement with Par and certified
          a class of direct purchasers of brand and generic Zetia (ezetimibe) for
          settlement purposes only, against Par. The certified class is defined as-

                   All persons or entities in the United States and its territories that
                   purchased Zetia or generic Zetia in any form directly from Merck,
                   Glenmark/Par, or any agents, predecessors, or successors thereof
                   from December 6, 2011 to June 11, 2017 (the "class").

                   Excluded from the class are Merck, Glenmark, Par, and any of their
                   officers, directors, management, employees, parents, subsidiaries,
                   and affiliates.


                   Also excluded from the class are the govemment of the United
                   States and all agencies thereof, and all state or local governments
                   and all agencies thereof.

          The full text of the Settlement Agreement, dated June 21, 2019, is available at
          www.ZetiaAntitrustLitigation.com.In the event of a conflict between the terms
          of this notice and the Settlement Agreement, the terms of the Settlement
          Agreement control.

          The Court has scheduled a hearing to decide whether to grant final approval
          of the Settlement. That hearing is scheduled for              , 2019 before
          U.S. District Court Judge Rebecca Beach Smith in Courtroom    at the Walter
          E. Hoffman United States Courthouse at 600 Granby Street, Norfolk, VA
          23510.
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       YOUR LEGAL RIGHTS ARE AFFECTED WHETHER YOU ACT OR DO NOT
                  ACT, SO PLEASE READ THIS NOTICE CAREFULLY.


                      YOUR LEGAL RIGHTS AND OPTIONS IN THIS
                              CLASS ACTION LAWSUIT

                             You do not need to do anything now to retain your right to
                             benefit from the Settlement.

                            1 If the Court grants Final Approval of the Settlement and
                              you are a class Member, you and all members of the Class
      DO NOTHING
                              will benefit from Par's covenant not to bring or assert
                              antitrust claims against Merck and Glenmark, expedited
                              discovery from Par, and availability of Par's witnesses in
                              the continuing lawsuit against the remaining Defendants.

                             This is the only option that allows you to file or be part of
                             another lawsuit against Par relating to the claims in this
                             case. If you exclude yourself from the class, you will not be
      EXCLUDE YOURSELF       bound by any of the Court's orders in this case as to the
      FROM THE CLASS         claims against Par, nor will you be entitled to benefit from
                             the expedited discovery or other elements of the settlement
                             with Par.


                             You may object to any or all of the Settlement. If you do so,
      OBJECT TO THE
                             you may (as discussed below) write to the Court and
      SETTLEMENT
                             counsel about why you do not like the Settlement.

                             If you would like to obtain more information about the
      GET MORE
                             Lawsuit, you can send questions to the lawyers identified in
      INFORMATION
                             this Notice or visit www.ZetiaAntiirustLitieation.com.


       These rights and options-and the deadlines to exercise them ~ are explained in
                                         this Notice.
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                                SUMMARY OF SETTLEMENT

     In exchange for a full release of all liability related to claims that were or could have
     been brought against Par in the Lawsuit by the Direct Purchaser Class Plaintiffs and
     the class, Par has agreed to (a) enter into a Covenant Not to Sue the remaining
     defendants, Merck and Glenmark, as a purchaser of generic Zetia, (b) to produce in
     the Lawsuit certain agreed-upon discovery, including data, documents and deposition
     testimony, on an expedited basis, and (c) to undertake reasonable efforts to make a
     witness or witnesses available to testify at trial, if any, of claims by the Direct
     Purchaser Class Plaintiffs against Merck and Glenmark.


                                    BASIC INFORMATION


      1. Why Did I Get This Notice?

     You received this notice because, according to manufacturers' sales records, you may
     have purchased branded Zetia directly from Merck at some point between December
     6, 2011 and June 11, 2017. You may also have purchased generic Zetia directly from
     Glenmark/Par during this same time period. Therefore, you may be a member of the
     class that was certified by the Court, for settlement purposes only, in this Lawsuit
     as it relates to claims against Par. The Settlement only involves Par. The Lawsuit
     against the other Defendants, Merck and Glenmark, is ongoing.

      2.   What Is This Lawsuit About?



     The Direct Purchaser Class Plaintiffs allege that Merck, Glenmark, and Par violated
     federal antitrust laws by unlawfully delaying generic competition to Zetia. Direct
     Purchaser Class Plaintiffs allege these entities entered into an unlawful "reverse
     payment" settlement agreement whereby Merck paid Glenmark and Par to delay
     entry of generic substitutes into the market for ezetimibe, a prescription cholesterol
     drug, sold under the brand name Zetia by Merck for years.

     Direct Purchaser Class Plaintiffs allege that before the anticompetitive reverse
     payment settlement agreement between Merck and Glenmark was executed,
     Glenmark and Par entered into a distribution arrangement whereby Par agreed to
     become the exclusive distributor of Glenmark's generic Zetia, and that Par
     performed under the terms of that agreement (which performance included Par's
     participation in the negotiation of the settlement of patent infringement litigation
     between Glenmark and Merck relating to generic Zetia, Par's payment of a transfer
     price for the acquisition of generic Zetia product, and Par's distribution of that
     product).
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     Direct Purchaser Class Plaintiffs allege that they were injured because they were
     overcharged for their purchases of brand and/or generic Zetia because of the delay
     in the availability of less expensive, generic versions of Zetia, including any
     authorized generic Zetia.

     A copy of the operative Direct Purchaser Class Plaintiffs' Amended Consolidated
     Class Action Complaint dated June 27, 2019 (the "Complaint") is available at
     www.ZetiaAntitrustLitigation.com.

     All Defendants, including Par, deny Direct Purchaser Class Plaintiffs' allegations,
     deny that their conduct violated any applicable law or regulation, deny that Direct
     Purchaser Class Plaintiffs have sustained any injury or damages as a result of their
     alleged conduct, and deny that any class member is entitled to damages or other
     relief.

     No trial has been held in the Lawsuit. Assuming the Court gives final approval to
     the Settlement with Par, a trial of claim against Merck and Glenmark is scheduled
     to begin on September 20, 2020.

     THE COURT HAS NOT DECIDED WHETHER ANY DEFENDANT, INCLUDING
     PAR, VIOLATED ANY LAWS. THIS NOTICE IS NOT AN EXPRESSION OF ANY
     OPINION BY THE COURT AS TO THE MERITS OF DIRECT PURCHASER
     CLASS PLAINTIFFS' CLAIMS AGAINST PAR OR ANY DEFENDANT OR THE
     DEFENSES ASSERTED BY PAR OR ANY DEFENDANT.

     The Lawsuit is known as In re Zetia (Ezetimibe)Antitrust Litigation, MDL No. 2836
     and is presided over by the Honorable Rebecca Beach Smith of the United States
     District Court for the Eastern District of Virginia.


        3. What Is A Class Action?

     In a class action, one or more entities called "class representatives" sue on behalf of
     other entities with similar claims. In this case, FWK Holdings, LLC, Rochester Drug
     Co-Operative, Inc., and Cesar Castillo, Inc. are the Class Representatives. The Class
     Representatives, together with the entities on whose behalf they have sued,
     constitute the "Class" or "Class Members." They are also called the "Direct Purchaser
     Class Plaintiffs". Their attorneys are called "Plaintiffs' Counsel" or "Class Counsel."

     In a class action lawsuit, one court resolves the issues for everyone in the class, except
     for those class members who exclude themselves {i.e., "opt out") from the class.

           Why Is This Lawsuit A Class

     The Court determined that the Settlement with Par on behalf of the Class satisfied
     Rule 23 of the Federal Rules of Civil Procedure and other applicable law and
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     therefore can proceed as a settlement on behalf of the Class. A copy of the Court's
     Preliminaiy Approval Order may be found at www.ZetiaAntitrustLitigation.com.

     Specifically, the Court identified at least the following class'wide issues-

       • Whether Defendants willfully obtained and/or maintained monopoly power
           over Zetia and its generic equivalents!
       • Whether the Defendant's scheme, in whole or in part, has substantially
           affected interstate commerce!

       • Whether the Defendants' unlawful agreement, in whole or in part, caused
         antitrust injury through overcharges to the business or property of the
         plaintiffs and the members of the Class!
       • Whether Defendants' conspired to delay generic competition for Zetia!
       • Whether, from December 12, 2016 through June 11, 2017, Merck, Glenmark
         and Par possessed the ability to control prices and/or exclude competition for
           Zetia!

        • Determinations of a reasonable estimate of the amount of delay the
          Defendants' unlawful monopolistic conduct caused, and
        • The quantum of overcharges paid by the Class, in the aggregate.


          Why Is There A Settlement?

     The Court has not yet decided which side is correct or if any laws were violated by
     any Defendant, including Par. Both the Direct Purchaser Class Plaintiffs and Par
     have agreed to settle the case, as to the allegations against Par only, and avoid the
     cost and risk of continued and protracted litigation against Par. The Lawsuit against
     the other Defendants, Merck and Glenmark, will continue.

     This Settlement is the product of extensive negotiations between Plaintiffs' Counsel
     and Par. At the time of settlement, discovery against Merck and Glenmark was
     ongoing, and the addition of Par as a defendant had the potential to delay trial of
     claims against Merck and Glenmark.

     After thoroughly investigating the complex factual, legal, and economic issues
     involved, Plaintiffs' Counsel negotiated with Par's Counsel to resolve the claims the
     Direct Purchaser Class Plaintiffs brought against Par in exchange for expedited
     discovery from Par, including the provision of relevant data, documents and
     deposition testimony as well as the availability of one or more witnesses in the event
     of a trial against Merck and Glenmark. Additionally, as part of the Settlement, Par
     covenanted not to bring or assert claims or counterclaims against the remaining
     defendants, Merck or Glenmark, arising under the Sherman or Clayton Acts (i.e.,
     antitrust claims)! according to the Direct Purchaser Class Plaintiffs, this provision is
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     of assistance to oppose a defense that the Direct Purchaser Class Plaintiffs do not
     have standing to pursue claims as direct purchasers.

     The Class Representatives and the lawyers representing them believe that the
     Settlement is fair, adequate, and reasonable, and in the best interests of the Class.


                              WHO IS PART OF THE SETTLEMENT


          Am I Part OfThe Class?

     You are in the Class if you are an entity in the United States or its territories that
     purchased brand Zetia or generic Zetia directly from Merck, Glenmark or Par at any
     time between December 6, 2011 and June 11, 2017 and do not meet one of the
     exclusions.

     The following are excluded from the Class-

        > Merck, Glenmark, Par and any of their officers, directors, management,
          employees, parents, subsidiaries, and affiliatesi
        > The government of the United States and all agencies thereof and
        > All state or local governments or agencies thereof.

     If you fit within the definition of the class, you will be considered a member of the class unless
     you timely and fully comply with the instructions for excluding yourself from the class as set
     forth in Question 12 below.


      7. WhatIfI Am Still Not Sure IfI Am Included In The Class?

     If you are not sure whether you are included, you may call or write to Lead Class
     Counsel at the telephone number or address listed in Question 13 below.


                                   THE SETTLEMENT BENEFITS


     18. Is There Any Money Involved In This Settlement?

     Under the Settlement, Par has not agreed to pay any money to the Direct Purchaser
     Class Plaintiffs or the Class. In exchange for a full release of liability from the claims
     brought in this Lawsuit, Par has agreed to provide certain agreed-upon discovery on
     an expedited basis, including data, documents and deposition testimony. Par has
     also agreed to make available one or more witnesses at trial, if any, against Merck
     and Glenmark. In addition, Par also covenants not to bring or assert claims or
     counterclaims against the remaining defendants, Merck or Glenmark, arising under
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     the Sherman or Clayton Acts (i.e., antitrust claims), relating to the conduct alleged
     in this lawsuit; according to the Direct Purchaser Class Plaintiffs, this provision is of
     assistance to oppose a defense that the Direct Purchaser Plaintiffs do not have
     standing to pursue claims as direct purchasers. A copy of the Settlement Agreement
     is available at www.ZetiaAntitrustLitigation.com.


          What Am I Giving Up As Part of the

     If the Court finally approves the Settlement and you remain a member of the Class
     you will be releasing Par from any liability for the claims in this Lawsuit. You will
     be releasing any right to sue, or be part of any other lawsuit, against Par over the
    "Released Claims."


     The Released Claims are described fully in the Settlement Agreement (available at
     www.ZetiaAntitrustLitigation.com).

     You will not be releasing claims against the remaining defendants in the Lawsuit,
     Merck and Glenmark.


                             OBJECTING TO THE SETTLEMENT


      10. How Do I Inform The Court That I Do Not Like The Settlement?

     If you are a Class Member, you may tell the Court that you object to (disagree with)
     all or any part of the proposed Settlement.

     You must provide reasons and otherwise explain the basis for any objection(s) you
     raise. The Court will consider your objection(s) in determining whether to grant Final
     Approval to the Settlement.

     To object, you must file your written objection(s) with the Clerk of the Court at this
     address-

            United States District Court for the Eastern District of Virginia
            Walter E. Hoffman United States Courthouse
            Clerk of Court
            600 Granby St.
            Norfolk, VA 23510

     You must also send a copy of your written objection(s) to Class Counsel and Par's
     Counsel at the following addresses'
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     DESIGNATED CLASS COUNSEL:                         DESIGNATED PAR COUNSEL:

     Thomas Sobol                                      Benjamin M. Greenblum
      Kristen A. Johnson                               Williams & Connolly LLP
     Hagens Berman Sobol Shapiro LLP                   725 12th Street, NW
      55 Cambridge Parkway, Suite 301                  Washington, DC 20005
      Cambridge, MA 02142                              Telephone:(202)434-5000
      Telephone:(617) 482-3700




     Your written objections must be postmarked no later than                                     2019.


     Your written objection(s) must include the case caption, In re Zetia (ezetimibe)
     Antitrust Litigation, MDL No. 2836 (E.D. Va.), along with: (i) your name; (ii) your
     address; (iii) your telephone number;(iv) proof of membership in the Class; and (v)
     the specific grounds for the objection and any reasons why you want to appear and be
     heard, as well as all documents and writings that you want the Court to consider.

     Do not call the Court or the Judge's office about your objection(s).

     If you have any questions, you may visit www.Z0tiaAntitrustLitigation.com or call
     Lead Counsel for the direct purchaser class identified in Question 13 of this notice.


                        EXCLUDING YOURSELF FROM THE CLASS

      11. Why would I ask to be excluded?

     If you exclude yourself from the Class - also known as "opting-out" of the class - you won't
     benefit from the Settlement, including the expedited discovery agreed to by Par or the availability
     of its witnesses at trial. If you exclude yourself, you will not be legally bound by any of the
     Court's orders as to the claims against Par in this lawsuit or any release entered in this class
     action.


          How do I ask the Court to exclude me fixim the


     What you must file to exclude yourself from the class depends on whether or not your right to
     recover is (i) for qualifying purchases made yourself, or (ii) for purchases that were made by
     another person (or entity) and you have been assigned all or some of the antitrust rights of that
     person (or entity).
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     If you made qualifying purchases yourself, or if you have been assigned all of the antitrust
     rights of a person or entity that made qualifying purchases, and wish to be excluded from the
     class, you must send a letter via first class U.S. mail to the notice administrator listed in
     Question 19 below stating that you want to exclude yourself from the lawsuit. In re Zetia
     (Ezetimibe) Aniitrust Litigation, MDL No. 2836 (E.D. Va.). This letter should include your
     name, address, telephone number, and your signature and must be postmarked no later than [45
     DAYS FROM DATE OF MAILING OF NOTICE], If you have been assigned all of the
     antitrust rights of a person or entity that would have otherwise been a member of the class, to be
     excluded, you must also provide a copy of the assignment of claims. Note: If you have
     previously produced the assignment in this litigation (either as a party who previously filed an
     action asserting the assigned claim or as a non-party), you may direct the notice administrator to
     the location of the assignment in the discovery.

     If you are a partial assignee (i.e., if the entity that assigned antitrust claims to you retained some
     portion of its antitrust claims and remains a class member), and wish to be excluded from the
     class, you must send a letter via first class U.S. mail to the notice administrator listed in
     Question 19 below stating that you want to exclude yourself from the lawsuit. In re Zetia
     (Ezetimibe) Antitrust Litigation, MDL No. 2836 (E.D. Va.) and provide a copy of the
     assignment of claims. The letter and assignment must be postmarked no later than [45 DAYS
     FROM DATE OF MAILING OF NOTICE]. Note: If you have previously produced the
     assignment in this litigation (either as a party who previously filed an action asserting the
     assigned claim or as a non-party), you may direct the notice administrator to the location of the
     assignment in the discovery. Please also be advised that seeking to opt out has a number of legal
     consequences and you should consult with your own counsel. Any dispute concerning whether
     your request to be excluded meets the criteria stated above will be resolved by the Court.

                                THE LAWYERS REPRESENTING YOU


           Do I Have A Lawyer In This Case?

     The attorneys and law firm listed below are serving as Lead Counsel for the Class
     by appointment of the Court, and are representing the Class in this Lawsuit with
      other Class Counsel. Lead Class Counsel is experienced in handling similar cases
      against other companies. Lead Class Counsel is"

                Thomas Sobol
                Kristen A. Johnson
                Hagens Berman Sobol Shapiro LLP
                55 Cambridge Parkway, Suite 301
                Cambridge, MA 02142
                Telephone:(617) 482-3700
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     You do not need to hire your own lawyer because Class Counsel are working on your
     behalf. However, if you wish to do so, you may retain your own lawyer at your own
     expense.


     If you hire your own lawyer to appear in this case, your lawyer must file a notice of
     appearance on or before                         , 2019[same date objections are due].

                        THE COURT'S FINAL FAIRNESS HEARING


      15. When And Where WiU The Court Decide Whether To Approve The Settlement?

     The Court will hold a Fairness Hearing at   ^    on                 2019. The hearing will
     take place at:

           United States District Court for the Eastern District of Virginia
            Walter E. Hoffman United States Courthouse
           600 Granby St.
            Norfolk, VA 23510
            Courtroom

     We do not know how long the Court will take to make its decision.

     Important! The time and date of this hearing may change without additional
     mailed or publication notice. For updated information on the hearing, visit:
     www.ZetiaAntitrustLitigation.com.

      16. Do I Have To Come To The Hearing?

     No. You do not have to go to the hearing, even if you send the Court objection(s).
     But you can, at your own expense, go to the hearing or hire a lawyer to attend on
     your behalf.

     Class Counsel will answer the Court's questions, if any.

      17. May I         At The Hearing?
     You may ask the Court for permission to speak at the Final Fairness Hearing. You
     must file a Notice of Intention to Appear with the Court by              , 2019
     [same day objections are due] at this address^

            United States District Court for the Eastern District of Virginia
            Walter E. Hoffman United States Courthouse
            Clerk of Court
            600 Granby St.
            Norfolk, VA 23510
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     You must also mail a copy of your Notice of Intention to Appear to Class Counsel
     and Counsel for Par at the addresses listed in Question 10.

     Your Notice of Intention to Appear must include the case caption, In re Zetia
     (ezetimibe)Antitrust Litigation, MDL No. 2836 (E.D. Va.), along with: (i) a
     statement of intention to appearj (ii) your name." (iii) your addressi (iv) your
     telephone numberl and (v) personal information for other people (including lawyers)
     who you want to speak at the hearing.


                                   IF YOU DO NOTHING


          What Happens IfI Do Nothing At All?

     If you do nothing, you will keep the right to participate in the Settlement as
     described in this notice, so long as the settlement is finally approved.

     You will not be able to start another lawsuit, continue another lawsuit, or be part
     of any other lawsuit against Par about the "Released Claims," including claims
     brought in the case between Direct Purchaser Class Plaintiffs and Par.

     All of the Court's orders in the Lawsuit as related to claims against Par will
     apply to you and legally bind you.


     Your rights concerning claims against the remaining Defendants, Merck and
     Glenmark, will not be affected by the Settlement. By remaining a member of the
     Class for purposes of the Settlement with Par, you will not be releasing any claims
     against the remaining defendants.


                             GETTING MORE INFORMATION

      19. How Do I Get More Information?

     For more detailed information about this Lawsuit, please refer to the papers on file
     with the Court, which may be inspected at the Office of the Clerk of Court, United
     States District Court for the Eastern District of Virginia, Walter E. Hoffman United
     States Courthouse, 600 Granby Street, Norfolk, Virginia 23510, during normal
     business hours. You may also get additional information by calling or writing to Lead
     Class   Counsel    listed    in    Question    13    above,    or    by   visiting
     www.ZetiaAntitrustLitigation.com. or by writing to the Notice Administrator, RG/2
     Claims Administration, at the following address:

                  RG/2 Claims Administration
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               P.O. Box 59479
               Philadelphia, PA 19102-9479

     PLEASE DO NOT WRITE TO OR CALL THE COURT OR THE CLERK'S OFFICE
                                FOR INFORMATION.




    date:                    2019            BY THE COURT



                                             Hon. Rebecca Beach Smith
                                             United States District Judge




                                        15
